IN THE DISTRICT COURT OF THE UNITED STATES FOR THE                     

    MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION                       


STEPHEN HOWARD,                 )                                         
                             )                                         
  Petitioner,                )                                         
                             )        CIVIL ACTION NO.                 
  v.                         )          3:20cv79-MHT                   
                             )              (WO)                       
UNITED STATES OF AMERICA,       )                                         
                             )                                         
  Respondent.                )                                         

                          ORDER                                        
  This   cause    is   now   before    the   court   on   the          
petitioner's    motion   to   proceed   on   appeal   in   forma          
pauperis (doc. no. 8).                                                    
  28 U.S.C. § 1915(a)(3) provides that "[a]n appeal                    
may not be taken in forma pauperis if the trial court                     
certifies    in  writing   that   it  is  not   taken   in  good          
faith."  In making this determination as to good faith,                   
a court must use an objective standard, such as whether                   
the  appeal   is  "frivolous,"   Coppedge   v.  United  States,           
369   U.S.   438,   445  (1962),    or  "has   no   substantive           
merit."  United States v. Bottoson, 644 F.2d 1174, 1176                   
(5th Cir. Unit B May 15, 1981) (per curiam); see also                     
Rudolph   v.  Allen,  666  F.2d   519,  520  (11th   Cir.  1982)          
(per curiam); Morris v. Ross, 663 F.2d 1032 (11th Cir.                    

1981).     Applying  this  standard,    this  court  is  of  the          
opinion that the petitioner's appeal is without a legal                   
or factual basis and, accordingly, is frivolous and not                   
taken   in  good  faith.     See,   e.g.,  Rudolph   v.   Allen,          

supra;   Brown   v.  Pena,  441   F.  Supp.   1382  (S.D.   Fla.          
1977), aff'd without opinion, 589 F.2d 1113 (5th Cir.                     
1979).                                                                    

                            ***                                        
  Accordingly,    it  is  ORDERED   that  the   petitioner's           
motion   to   proceed   on   appeal   in   forma   pauperis   is          
denied; and that the appeal in this cause is certified,                   

pursuant   to  28  U.S.C.   §  1915(a)(3),   as  not   taken  in          
good faith.                                                               
  DONE, this the 21st day of April, 2020.                              
                              /s/ Myron H. Thompson                    
                           UNITED STATES DISTRICT JUDGE                